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                                                                   May 2, 2023


VIA E-FILE
The Honorable Andrew M. Edison, Magistrate Judge
United States District Courthouse, Southern District of Texas
601 Rosenberg, Sixth Floor
Galveston, Texas 77550

Re:       Civil Action No. 4:23-cv-0216; Wealth Assistants LLC v. Bank of America, N.A., in
          the Southern District of Texas, Houston Division

Dear Judge Edison:

       Pursuant to Procedures 1.E. and 6.B. of this Court, Defendant Bank of America, N.A.
(“Bank of America”) submits this letter requesting, at the Court’s discretion, a pre-motion
conference in anticipation of filing a motion to dismiss pursuant to Rule 12(b)(6) of the Federal
Rules of Civil Procedure in response to the claims asserted in the First Amended Complaint filed
by the Plaintiff Wealth Assistants LLC (the “Plaintiff”).

          Background

       The Plaintiff is a Bank of America customer and the account holder for three Bank of
America accounts. The Plaintiff alleges that in November of 2022, Bank of America froze its
accounts without explanation and did not return the Plaintiff’s money for a period of several
months. The Plaintiff asserts claims for DTPA violations, money had and received, unjust
enrichment, breach of contract, violation of the Texas Theft Liability Act, conversion, and for
recovery of attorneys’ fees.


          Arguments in Support of a Motion to Dismiss

      A. Texas Deceptive Trade Practices Act

          i.          The DTPA does not apply to transactions over $500,000

       By its terms, the DTPA does not apply to a transaction [or a set of transactions] totaling
more than $500,000. See Tex. Bus. & Com. Code § 17.49(g). Here, the Plaintiff alleges that
approximately $3,784.178.61 was wrongfully withheld. See 1st Am. Pet. at ¶ 10.

          ii.         The Plaintiff’s DTPA claims are preempted by an express contract


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             Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
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        The relationship between the Plaintiff and Bank of America is contractual in nature. See
1st Am. Pet. at ¶ 38. Moreover, the Plaintiff’s DTPA claim relies solely on misrepresentations
Bank of America allegedly made regarding its contractual obligations. See 1st Am. Pet. at ¶ 18.
The Plaintiff “cannot transform a breach of contract claim into a Texas Deceptive Trade Practices
Act claim through reliance on allegations that the defendant misrepresented its intention to perform
the contract.” See e.g., Ellis v. Yellow Book Sales & Distribution Co., Civil Action No. 2:11-CV-
138-JRG, 2012 U.S. Dist. LEXIS 27702, 2012 WL 689273, at *1 (E.D. Tex. Mar. 2, 2012).

        Accordingly, the Plaintiff’s DTPA claim must be dismissed under Rule 12(b)(6).

       B.      Breach of Contract – The Plaintiff fails to allege what contractual provision or
contract term(s) Bank of America breached. See 1st Am. Pet. at ¶ 38. In Texas, to properly plead
a breach of contract by a defendant, “a plaintiff must identify a specific provision of the contract
that was allegedly breached.” Innova Hospital San Antonio, L.P. v. Blue Cross and Blue Shield of
Georgia, Inc., 995 F. Supp. 2d 587, 602 (N.D. Tex. 2014) (O’Connor, J.).1

        Accordingly, this claim must also be dismissed under Rule 12(b)(6).

        C.       Texas Theft Liability Act – There are no pled facts sufficiently stating the required
element of intent to satisfy a TTLA claim. See 1st Am. Pet. at ¶ 42. “To state a claim under the
Act, the plaintiff must show that the defendants possessed the requisite intent, which means that
the defendants would have had a conscious desire or objective to deprive the plaintiffs of their
property.” See e.g., Allison v. J.P. Morgan Chase Bank, N.A., No. 1:11-342, 2012 U.S. Dist. LEXIS
142522, 2010 WL 463317, at *9-10 (E.D. Tex. Oct. 2, 2012) (dismissing TTLA claim where the
plaintiff failed to identify facts in support of the required intent under the statute); cf. Christensen
v. State, 240 S.W.3d 25, 32 (Tex. App.—Houston [1st Dist.] 2007, no pet.) (Defining intent as
“conscious desire or objective to deprive the plaintiffs of their property”).

        Accordingly, this claim must also be dismissed under Rule 12(b)(6).

       D.      Conversion, Unjust Enrichment, Money Had and Received – The Plaintiff’s claims
for conversion, money had and received, and unjust enrichment are precluded under the
“economic-loss rule.” See 1st Am. Pet. at ¶¶ 26-36; 44. As this Court has held, “When a valid,
express contract covers the subject matter of the parties' dispute, there generally can be no recovery
under a quasi-contract theory.” Humana, Inc. v. Shrader & Associates., LLP, 584 B.R. 658, 677
(S.D. Tex. 2018) (citing Fortune Production Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

        Accordingly, these claims must also be dismissed under Rule 12(b)(6).


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  See also, e.g., Watson v. Citimortgage, Inc., 814 F. Supp. 2d 726, 732 (E.D. Tex. 2011); Motten v. Chase Home
Finance, 831 F. Supp. 2d 988, 1003–04 (S.D. Tex. 2011); Encompass Office Solutions, Inc. v. Ingenix, Inc., 775 F.
Supp. 2d 938, 953–54 (E.D. Tex. 2011); American Realty Trust, Inc. v. Travelers Casualty & Surety Company of
America, 362 F. Supp. 2d 744, 753 (N.D. Tex. 2005) (Godbey, J.); Mae v. U.S. Property Solutions, L.L.C., 2009 U.S.
Dist. LEXIS 36126, 2009 WL 1172711, at *2 (S.D. Tex. Apr. 28, 2009)(dismissing breach of contract claim where
property owner failed to assert which provision of the loan was allegedly breached).
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        Conclusion2

        For the foregoing reasons, Bank of America, N.A., by and through the undersigned counsel,
respectfully requests permission to file a motion to dismiss with prejudice the claims asserted in
the Plaintiff’s First Amended Complaint and seeks a pre-motion conference to discuss said motion.

                                                            Respectfully submitted,


                                                            /s/ Matthew D. Durham
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                                                            ATTORNEY FOR DEFENDANT
                                                            BANK OF AMERICA, N.A.



                                 CERTIFICATE OF CONFERENCE

        In accordance with Local Rule 6(c)(2), I, Grant Figari, have made at least two attempts to
contact the opposing party. Specifically, I called the Plaintiff’s counsel and left a voicemail on
May 1, 2023, and I emailed the Plaintiff’s counsel on May 1, 2023 regarding the relief requested
herein.

                                                            /s/ Grant M. Figari
                                                            Grant M. Figari


cc: All counsel of record (by ECF)




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 In any Motion to Dismiss, Bank of America may also raise additional points, but the above represent the core of
Bank of America’s anticipated arguments.
